          Case 1:22-cv-00222-JB-KK Document 56 Filed 08/19/22 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO



VOTER REFERENCE FOUNDATION,
LLC and HOLLY STEINBERG,

                 Plaintiff,

v.
                                                                   Case No: 1:22-cv-00222-JB-KK


 HECTOR BALDERAS, in his official
 capacity as New Mexico Attorney
 General, and MAGGIE TOULOUSE
 OLIVER, in her official capacity as
 New Mexico Secretary of State,

                 Defendants.


                                          NOTICE OF APPEAL

        Pursuant to Federal Rules of Appellate Procedure 3(a)(1) and 4(a)(1)(A), as well as 28

U.S.C. § 1292(a)(1), Defendants Hector Balderas, in his official capacity as New Mexico

Attorney General, and Maggie Toulouse Oliver, in her official capacity as New Mexico

Secretary of State (collectively, “Defendants”) hereby appeal to the United States District

Court for the Tenth Circuit from the Memorandum Opinion and Order of the United States

District Court for the District of New Mexico granting, in part, Plaintiffs’ Motion for

Preliminary Injunction and entered on July 22, 2022 (Doc. 51).




Voter Reference Foundation, et al. v. Hector Balderas, et al., Case No. 1:22-cv-00222-JB-KK
Notice of Appeal
Page 1 of 2
          Case 1:22-cv-00222-JB-KK Document 56 Filed 08/19/22 Page 2 of 2




                                                    Respectfully submitted,

                                                    By: /s/ Olga M. Serafimova
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                                                    Attorney for Defendants



                                      CERTIFICATE OF SERVICE

        I certify that on August 19, 2022, I served the foregoing on counsel of record for all

parties via the CM/ECF system.

                                                            /s/ Olga M. Serafimova




Voter Reference Foundation, et al. v. Hector Balderas, et al., Case No. 1:22-cv-00222-JB-KK
Notice of Appeal
Page 2 of 2
